                      Case 2:13-cr-00018-JCM-GWF          Document 576        Filed 04/16/15     Page 1 of 2



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                 4                                 UNITED STATES DISTRICT COURT
                 5                                        DISTRICT OF NEVADA
                 6                                                    ***
                 7       UNITED STATES OF AMERICA,                            Case No. 2:13-CR-18 JCM (GWF)
                 8                                            Plaintiff(s),                     ORDER
                 9              v.
               10        LEON BENZER, et al.,
               11                                           Defendant(s).
               12
               13              The calendar call currently set for May 18, 2015, to determine the order of sentencings in
               14       these cases, is hereby canceled. The schedule of sentencing hearings for the remaining
               15       defendants who do not have a sentencing date will be as follows:
               16
               17                DEFENDANT                   DATE                TIME          CASE NUMBER(S)
                         Mary Ann Watts                    May 18, 2015        9:30 a.m.   2:11-cr-336-JCM-GWF-001
               18        Rosalio Alcantar                  May 18, 2015       10:00 a.m.   2:12-cr-113-JCM-VCF-001
               19        Patrick Bergsrud                  May 18, 2015       10:30 a.m.   2:12-cr-113-JCM-VCF-002
                         Robert Bolten                     May 18, 2015       11:00 a.m.   2:12-cr-113-JCM-VCF-003
               20
               21        Glenn Brown                       May 19, 2015        9:30 a.m.   2:12-cr-113-JCM-VCF-004
               22        Michelle Deluca                   May 19, 2015       10:00 a.m.   2:12-cr-113-JCM-VCF-006
                         Charles Hawkins                   May 19, 2015       10:30 a.m.   2:12-cr-113-JCM-VCF-007
               23        Sami Hindiyeh                     May 19, 2015       11:00 a.m.   2:12-cr-113-JCM-VCF-008
               24
               25        Brian Jones                       May 20, 2015        9:30 a.m.   2:12-cr-113-JCM-VCF-009
                         Lisa Kim                          May 20, 2015       10:00 a.m.   2:12-cr-113-JCM-VCF-010
               26                                                                          2:12-cr-114-JCM-VCF-002
               27        Morris Mattingly                  May 20, 2015       10:30 a.m.   2:12-cr-113-JCM-VCF-011
                         Jeanne Winkler                    May 20, 2015       11:00 a.m.   2:12-cr-113-JCM-VCF-014
               28

James C. Mahan
U.S. District Judge
                    Case 2:13-cr-00018-JCM-GWF      Document 576   Filed 04/16/15   Page 2 of 2



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                       Ricky Anderson               May 21, 2015    9:30 a.m.   2:13-cr-018-JCM-GWF-005
                2
                       Maria Limon                  May 21, 2015   10:00 a.m.   2:13-cr-018-JCM-GWF-006
                3      Jose Luis Alvarez            May 21, 2015   10:30 a.m.   2:13-cr-018-JCM-GWF-007
                       Rudolfo Alvarez-Rodriguez    May 21, 2015   11:00 a.m.   2:13-cr-018-JCM-GWF-008
                4
                5
                       Barry Levinson               May 22, 2015    9:30 a.m.   2:14-cr-010-JCM-VCF-001
                6      SEALED                       May 22, 2015   10:00 a.m.            SEALED
                7
                8
                            DATED April 16, 2015.
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                                                      ___________________________________________
              11                                      UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                          -2-
